     LOCAL FORM FOR A CHAPTER 13 PLAN UNDER FEDERAL RULE OF BANKRUPTCY PROCEDURE 3015.1 AND
                                  ADMINISTRATIVE ORDER NO. 17-04

                                                         UNITED STATES BANKRUPTCY COURT
                                                       FOR THE EASTERN DISTRICT OF MICHIGAN

IN RE:

            Linda R. Sosnowski                                                         CASE NO. 18-55233-MBM
                                                                                       CHAPTER 13
S.S.#       xxx-xx-7297                                                                JUDGE MARCI B. MCIVOR
        Debtor

and                                                                                                     PLAN SUMMARY
                                                                                                  For informational purposes only.
                                                                                       ACP: 36 Months
                                                                                       Minimum Plan Length: 60 Months
S.S.#
                                                                                       Plan payment: $ 1,386.37 per Month
     Joint-Debtor
                                                                                       Minimum dividend to Class 9 Creditors $ 0.00
             Debtor(s)
                                                                                       Percentage of Tax Refunds committed 100%
__________________________________/


                                                                      CHAPTER 13 PLAN
                                          [ ] Original                OR [ X ]Pre-Confirmation Modification # 1

I.     NOTICES
TO CREDITORS: YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. THIS PLAN MAY BE CONFIRMED AND
BECOME BINDING WITHOUT FURTHER NOTICE OR HEARING UNLESS A TIMELY WRITTEN OBJECTION IS
FILED. READ THIS DOCUMENT CAREFULLY AND CONSIDER SEEKING THE ADVICE OF AN ATTORNEY.
       Debtors must check one box on each line to state whether or not the Plan includes each of the following items:
     A. Nonstandard Provisions set out in Section IV. Under Federal Rule         Included                 Not included
         of Bankruptcy Procedure 3015(c), a “nonstandard provision”
         means a provision that is not otherwise included in the approved
         form for a Chapter 13 Plan in the Eastern District of Michigan.
      B. A limit on the amount of a secured claim based on a valuation of        Included                 Not included
         the collateral for the claim.
     C. Avoidance of a security interest or lien.                                Included                 Not included
       • IF AN ITEM IS CHECKED AS “NOT INCLUDED” OR IF BOTH BOXES ARE CHECKED, THE PROVISION IS
          VOID EVEN IF OTHERWISE INCLUDED IN THE PLAN.
       • ANY “NONSTANDARD PROVISION” THAT IS NOT SPECIFICALLY IDENTIFIED IN SECTION IV IS VOID.
       • IF THIS SECTION I INDICATES THAT THIS PLAN DOES NOT INCLUDE ANY “NONSTANDARD
          PROVISIONS”, ANY “NONSTANDARD PROVISIONS” IN THIS PLAN (INCLUDING ANY OTHERWISE
          SPECIFICALLY LISTED IN SECTION IV) ARE VOID.
THIS PLAN IS SUBJECT TO AND INCORPORATES BY REFERENCE THE ADDITIONAL STANDARD PROVISIONS
WHICH MAY BE FOUND AT WWW.13EDM.COM or WWW.MIEB.USCOURTS.GOV OR FROM DEBTOR'S COUNSEL
UPON WRITTEN REQUEST.

II. APPLICABLE COMMITMENT PERIOD; PLAN PAYMENTS; PLAN LENGTH; EFFECTIVE DATE AND
    ELIGIBILITY FOR DISCHARGE:
       A.       Debtor’s Current Monthly Income exceeds the applicable State median income. Debtor’s Applicable Commitment Period
            is 60 months. Debtor’s Plan Length shall be 60 months from the date of entry of the Order Confirming Plan.
              Debtor’s Current Monthly Income is less than or equal to the applicable State median income. Debtor’s Applicable
            Commitment Period is 36 months. Debtor’s Plan Length shall be 60 months from the date of entry of the Order Confirming

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            Plan. This is a minimum Plan length. If the Plan has not been completed in the minimum Plan length, the Plan length shall
            be extended as necessary for completion of the requirements of the Plan; provided that in no event will the Plan term
            continue beyond 60 months from the date of entry of the Order Confirming Plan. See Paragraph J of the Additional Terms,
            Conditions and Provisions for additional information regarding Completion of Plan.
            If neither or both of the above boxes is checked, then the Applicable Commitment Period and the Plan Length shall be 60
            months from the date of entry of the Order Confirming Plan.
       B. Debtor’s plan payment amount is $1,386.37 per month however Debtor shall be excused from remitting a monthly
          payment in the amount of $1,386.87.00 for the reason that she was wrongfully debited by a retailer on her bank
          account for making an online charge in access of $700.00 which was not made. Evidence of the same has been
          provided to the Trustee.
       C. Future Tax Refunds. See Paragraph A of the Additional Terms, Conditions and Provisions for additional information
          regarding Tax Refunds and Tax Returns.
  FOR CASES ASSIGNED TO BAY CITY DIVISION: Check only one box. If none are checked or more than one box is
  checked, paragraph 2 shall apply:
  1.      Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit any future Tax
      Refunds

  2.        Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does not include a pro-
        ration for anticipated Tax Refunds. Debtor will remit 50% of all Federal and State Tax Refunds that debtor receives or is entitled
        to receive after commencement of the case.

  3.        Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes a proration for
        anticipated Federal Tax Refunds. Debtor will remit 100% of all Federal and State Tax Refunds that debtor receives or is entitled
        to receive after commencement of the case to the extent the Refund exceeds the sum of twelve times the amount of the Federal
        and State Tax Refund pro-ration shown in Schedule I.

  FOR CASES ASSIGNED TO DETROIT DIVISION: Check only one box. If none are checked or more than one box is
  checked, paragraph 2 shall apply:
  1.      Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit any future Tax
      Refunds.

  2.        Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does not include a pro-
        ration for anticipated Tax Refunds. Debtor will remit 100% of all Federal Tax Refunds that debtor receives or is entitled to
        receive after commencement of the case.

  3.        Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes a proration for
        anticipated Federal Tax Refunds. Debtor will remit 100% of all Federal Tax Refunds that debtor receives or is entitled to receive
        after commencement of the case to the extent the Refund exceeds the sum of twelve times the amount of the Federal Tax Refund
        pro-ration shown in Schedule I.

  FOR CASES ASSIGNED TO FLINT DIVISION: Check only one box. If none are checked or more than one box is checked,
  paragraph 2 shall apply:
  1.      Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit any future tax
      refunds.

  2.        Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does not include a pro-
        ration for anticipated tax refunds. Debtor will remit 100% of all Federal Tax Refunds that Debtor receives or is entitled to
        receive after commencement of the case.

  3.        Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes a proration for
        anticipated Federal Tax Refunds. Debtor is not required to remit Federal Tax Refunds in excess of the amount of the proration
        shown on Schedule I.
       D.       If the box to the immediate left is "checked", the debtor acknowledges that debtor is not eligible for a discharge pursuant
            to 11 USC §1328.


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                If the box to the immediate left is "checked", the joint debtor acknowledges that joint debtor is not eligible for a
            discharge pursuant to 11 USC §1328.
      E.       If the box to the immediate left is "checked", the debtor or joint debtor is self-employed AND incurs trade credit in the
            production of income from such employment. Debtor shall comply with the requirements of Title 11, United States Code,
            and all applicable Local Bankruptcy Rules regarding operation of the business and duties imposed upon the debtor.
III. DESIGNATION AND TREATMENT OF CLASSES OF CLAIMS: See Paragraph F of the Additional Terms, Conditions and
     Provisions for additional information regarding the order in which claims are to be paid.
      A. Class One – TRUSTEE FEES as determined by statute.
      B. Class Two – ADMINISTRATIVE CLAIMS, INCLUDING ATTORNEYS FEES AND COSTS:
            1. PRE-CONFIRMATION ATTORNEY FEES: At confirmation of the Plan, Counsel shall elect to either:
                 a.     In lieu of filing a separate fee application pursuant to 11 USC §327 and §330, accept the sum of $ 3,500.00 for
                        services rendered plus $ 0.00 for costs advanced by Counsel, for total Attorney Fees and Costs of
                        $ 3,500.00 through the Effective Date of the Plan. The total Attorney Fees and Costs less the sum paid to Counsel
                        prior to the commencement of this case as reflected in the Rule 2016(b) Statement leaving a net balance due of
                        $ 3,000.00 , will be paid as an Administrative Expense Claim; or

                 b.     Request an award of compensation for services rendered and recovery of costs advanced by filing a separate
                        Application for Compensation for services rendered up through the date of entry of the Order Confirming Plan
                        pursuant to 11 USC §327 and §330. If Counsel elects to file a fee application pursuant to this sub-paragraph, the
                        Trustee shall escrow $4,000.00 for this purpose. See Paragraph B of the Additional Terms, Conditions and
                        Provisions for additional information.

            2. POST-CONFIRMATION ATTORNEY FEES: See Paragraph D of the Additional Terms, Conditions and Provisions
               for additional information.
            3. RETENTION OF OTHER PROFESSIONALS FOR POST-PETITION SERVICES: Debtor                                      has retained or
                   intends to retain the services of (name of person to be retained) as (capacity or purpose for retention) to perform
               professional services post-petition with fees and expenses of the professional to be paid as an Administrative Expense. See
               Paragraph C of the Additional Terms, Conditions and Provisions for additional information.
            4. OTHER ADMINISTRATIVE EXPENSE CLAIMS: Any administrative expense claims approved by Order of Court
               pursuant to 11 USC §503 shall be paid as a Class Two administrative claim. See Paragraph E of the Additional Terms,
               Conditions and Provisions for additional information.
      C. CLASS THREE – SECURED CLAIMS TO BE STRIPPED OR AVOIDED FROM THE COLLATERAL AND
         TREATED AS UNSECURED CLAIMS TO BE PAID BY TRUSTEE. See Paragraph G and Paragraph N of the
         Additional Terms, Conditions and Provisions for additional information.
            Class 3.1 Liens to be Stripped. 11 USC §506(a).
                                          Creditor                                                       Collateral
     None

            Class 3.2 Judicial Liens and Non-Possessory, Non-Purchase Money Liens to be Avoided. 11 USC §522(f).
                                          Creditor                                                       Collateral
  -NONE-

      D. CLASS FOUR - SECURED CLAIMS ON WHICH THE LAST CONTRACTUAL PAYMENT IS DUE BEYOND
         THE LENGTH OF THE PLAN. 11 USC §1322(b)(5).
            Class 4.1      Continuing Payments on a claim secured by the debtor's principal residence that come due on and after
                           the date of the Order for Relief. (See Paragraph P, Paragraph L and Paragraph EE of the Additional Terms,
                           Conditions and Provisions for additional information).
                  Creditor                            Collateral                  Monthly Payment          Direct or Via Trustee
  MTGLQ Investors, L.P.                         34024 Aztec Drive Westland, MI 48185                 1,137.00              Trustee
                                                Wayne County
            Class 4.2          Pre-Petition Arrearages on a claim secured by the debtor's principal residence to be paid by Trustee:
                               Those amounts which were due as of the filing of the Order for Relief:

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                                                                                                                   Estimated Average    Months to Cure From
                  Creditor                                       Collateral                   Arrears Amount       Monthly Payment       Confirmation Date
  MTGLQ Investors, L.P.                         34024 Aztec Drive Westland, MI                      44,105.39      Debtor will obtain a               Direct
                                                48185 Wayne County                                                           mortgage
                                                                                                                    modfication wihich
                                                                                                                     will subsume any
                                                                                                                    existing mortgage
                                                                                                                             arrearage
            Class 4.3      Continuing Payments other than on a claim secured by the debtor's principal residence that come due on
                           and after the date of the Order for Relief. (See Paragraph P, Paragraph L and Paragraph EE of the
                           Additional Terms, Conditions and Provisions for additional information).
                  Creditor                            Collateral                   Monthly Payment          Direct or Via Trustee
  -NONE-

            Class 4.4          Pre-Petition Arrearages other than on a claim secured by the debtor's principal residence to be paid by
                               Trustee: Those amounts which were due as of the filing of the Order for Relief:
                                                                                                                   Estimated Average      Months to Cure From
                  Creditor                                       Collateral                   Arrears Amount       Monthly Payment         Confirmation Date
  -NONE-


      E. CLASS FIVE - SECURED CLAIMS ON WHICH THE LAST PAYMENT WILL BECOME DUE WITHIN THE
         PLAN DURATION. (See Paragraph H, Paragraph L, Paragraph O, and Paragraph S of the Additional Terms, Conditions
         and Provisions for additional information).
       Class 5.1. Secured Claims not excluded from 11 USC §506 to be paid Equal Monthly Payments. 11 USC
                  §1325(a)(5)(B):
                                    Indicate if
                                "crammed" *** or Interest rate Total to be paid
                                     modified        (Present       Including       Monthly
       Creditor/Collateral                          Value Rate)      Interest       Payment       Direct or Via Trustee
  -NONE-/


*** See debtor's Schedule A/B for more information about values.
            Class 5.2. Secured Claims not excluded from 11 USC §506 not to be paid Equal Monthly Payments. 11 USC
                      §1325(a)(5)(B):
                                                     Indicate if                                                      Estimated
                                                  "crammed"***or              Interest rate                            Average
                                                      modified                  (Present       Total to be paid       Monthly
       Creditor/Collateral                                                    Value Rate)     including interest      Payment            Direct or Via Trustee
  -NONE-/


*** See debtor's Schedule A/B for more information about values.
            Class 5.3. Secured claims excluded from 11 USC §506 by the “hanging paragraph” at the end of 11 USC §1325(a)(9)
                      to be paid “Equal Monthly Payments”. 11 USC §1325(a)(5)(B).
                                                                              Interest rate
                                                       Indicate if              (Present       Total to be paid       Monthly
       Creditor/Collateral                             "modified              Value Rate)     Including interest      Payment            Direct or Via Trustee
  -NONE-/


            Class 5.4. Secured claims excluded from 11 USC §506 by the “hanging paragraph” at the end of 11 USC §1325(a)(9)
                      not to be paid Equal Monthly Payments. 11 USC §1325(a)(5)(B).




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                                                                                                                        Estimated
                                                       Indicate if              Interest rate                            Average
                                                       "modified                  (Present       Total to be paid       Monthly
      Creditor/Collateral                                                       Value Rate)     Including interest      Payment            Direct or Via Trustee
  -NONE-

            Class 5.5. Surrender of collateral. (See Paragraph P of the Additional Terms, Conditions and Provisions for additional
                      information).
The debtor(s) surrenders debtor’s interest in the following collateral. Any allowed unsecured claim remaining after disposition of the
collateral will be treated as a Class 9 General Unsecured Creditor.
                         Creditor Name                                                                   Description of Collateral
  -NONE-

      F. CLASS SIX – EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES. 11 USC §§365, 1322(b)(7): Debtor
         assumes the executory contracts and unexpired leases listed in subparagraph 1. (See Paragraph K of the Additional
         Terms, Conditions and Provisions for additional information).
            Class 6.1. Continuing Lease/Contract Payments:
                                                                                                          Monthly          Lease/Contract          Direct or Via
                  Creditor                                              Property                          Payment          expiration date           Trustee
  GM Finaincial Leasing                         Auto Lease                                                      427.67 05/2019                         Trustee
            Class 6.2. Pre-petition Arrearages on Assumed Executory Contracts and Leases (to be paid by Trustee):
                                                                                                                     Estimated Average      Months to Cure From
                  Creditor                                           Property                   Arrears Amount       Monthly Payment         Confirmation Date
  GM Finaincial Leasing                         Auto Lease                                              2,176.87                     N/A                               6
            Class 6.3. Debtor rejects the executory contracts and unexpired leases listed in this subparagraph 3. Any unexpired
                       lease or executory contract that is neither expressly assumed in Class 6.1 above or expressly rejected below
                       shall be deemed rejected as of the date of confirmation of debtor’s chapter 13 plan to the same extent as if
                       that unexpired lease or executory contract was listed below. (See Paragraph K of the Additional Terms,
                       Conditions and Provisions for additional information):
                                          Creditor                                                                        Property
  -NONE-

      G. CLASS SEVEN – PRIORITY UNSECURED CLAIMS. 11 USC §§507, 1322(a)(2).
            Class 7.1. Domestic Support Obligations: Continuing Payments that come due on and after the date of the Order for
                       Relief:
                                Creditor                                            Monthly Payment                          Direct or Via Trustee
  -NONE-

            Class 7.2. Domestic Support Obligations: Pre-Petition Arrearages due as of the filing of the Order for Relief:
                                                                                                         Estimated Average
                             Creditor                                      Arrears Amount                Monthly Payment              Direct or Via Trustee
  -NONE-

            Class 7.3. All Other Priority Unsecured Claims [11 U.S.C. §1322(a)(2)]
                                Creditor                                                 Amount                              Direct or Via Trustee
  -NONE-
      H. CLASS EIGHT – SEPARATELY CLASSIFIED UNSECURED CLAIMS. 11 USC §1322(b)(1): (To be paid by
         Trustee): (See Paragraph M of the Additional Terms, Conditions and Provisions for additional information):
                Creditor                                        Amount                          Interest Rate            Reason for Special Treatment
  -NONE-
      I.    CLASS NINE - GENERAL UNSECURED CLAIMS (to be paid by Trustee): – See Paragraph N of the Additional Terms,
            Conditions and Provisions for additional information.
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                    This Plan shall provide a total sum for distribution to creditors holding Class 9 General Unsecured claims in an amount
                    that is not less than the Amount Available in Chapter 7 shown on Attachment 1, Liquidation Analysis and Statement of
                    Value of Encumbered Property (the “Unsecured Base Amount”). This Plan shall provide either (i) the Unsecured Base
                    Amount; or (ii) will continue for the full Plan Length as indicated in Paragraph II.A of this Plan, whichever yields the
                    greater payment to Class 9 Unsecured Creditors. See Attachment 2, Chapter 13 Model Worksheet, Line 8, for additional
                    information concerning funds estimated to be available for payment to Class 9 Unsecured Creditors.

                    This Plan shall provide a dividend to holders of Class 9 General Unsecured Claims equal to 100% of allowed claims.
      If neither box is checked or if both boxes are checked, then the plan shall pay the Unsecured Base Amount.
                    If the box to the immediate left is "checked", creditors holding claims in Class Seven, Eight and Nine shall receive
                    interest on their allowed claims at the rate of 0.00% per annum as required by 11 USC §1325(a)(4).
IV. Nonstandard Plan Provisions:
             • ANY "NONSTANDARD PROVISION" THAT IS NOT BOTH INCLUDED IN SECTION 1.A AND
               SPECIFICALLY STATED IN THIS SECTION IS VOID.

            V. A. DEBTOR’S OBLIGATION TO REMIT TAX REFUNDS: Debtor shall not alter any withholding
            deductions/exemptions without Court approval. If the Internal Revenue Service or any State taxing authority remits to the
            Trustee any sum which the debtor is not required to remit pursuant to this Plan, then upon written request of the debtor and
            concurrence of the Trustee, the Trustee shall be authorized to refund those sums to the debtor from funds first available
            without further motion, notice or Order of Court. The Trustee shall not be required to recoup or recover funds disbursed to
            creditors prior to receipt of the debtor’s written request except as otherwise specifically ordered by the Court.
            If debtor is married and debtor’s spouse is not a joint-debtor in this case, debtor’s Tax Refund(s) for any calendar year shall
            be 50% of the aggregate net Tax Refunds received by debtor and debtor’s Non-filing spouse, regardless of whether debtor
            and spouse file a joint tax return or file separate tax returns.

            V.D.      POST-CONFIRMATION ATTORNEY FEES & COSTS BY SEPARATE APPLICATION: Counsel reserves
            the right to file Applications for compensation for services rendered subsequent to the Confirmation of this Plan. Upon entry
            of an Order Awarding Post Confirmation Attorney Fees, if Debtor’s Plan will not complete within 60 months of the date of
            the Order Confirming Plan, all unpaid Attorney fees and costs shall be paid by the Trustee only after a plan modification that
            allows Debtor’s Plan to complete within 60 months from the date of the Order Confirming Plan is approved with notice as is
            appropriate to the parties interested.

            V.F.     ORDER OF PAYMENT OF CLAIMS: All claims for which this Plan proposes payment through the Trustee shall
            be paid in the following order to the extent that funds are available:

                     Level 1: Class 1
                     Level 2: Class 2.1, 2.2, and 2.3, 5.1, 5.3 and 6.1
                     Level 3: Class 2.1 and 2.3, 5.1, 5.3 and 6.1
                     Level 4: Class 2.2 and 2.4
                     Level 5: Classes 4.1 and 4.3
                     Level 6: Classes 4.2, 4.4, 5.2, 5.4 and 6.2
                     Level 7: Class 7
                     Level 8: Classes 3.1, 3.2, 5.5, 6.3, 8 and 9
            Each level shall be paid as provided in this Plan before any disbursements are made to any subordinate class. If there are not
            sufficient funds to pay all claims within a level, then the claims in that level shall be paid pro rata.

            V.O.     VESTING, POSSESSION OF ESTATE PROPERTY AND LIEN RETENTION: Upon the Effective Date of
            the Plan, all property of the estate shall not vest in the debtor and shall cease continue to be property of the estate. The debtor
            shall remain in possession of all property during the pendency of this case unless specifically provided herein, and shall not
            seek to sell, transfer or otherwise dispose of such property (except in the ordinary course of debtor’s business) without prior
            Court approval.

            V.Y.     OBJECTIONS TO PROOFS OF CLAIM: Any party-in-interest shall have the right to object to Proofs of Claim.
            Confirmation of this Plan shall not constitute a waiver of any objection and shall not constitute or have any res judicata or
            collateral estoppel effect on or against any objection to Proof of Claim. If any objection to Proof of Claim is filed and
            sustained, in whole or in part, after the Trustee has begun making disbursements under this plan as confirmed, Trustee shall
            have no obligation or duty to recoup any payments or disbursements made to the creditor whose Proof of Claim was the
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            subject of the objection except as otherwise specifically ordered by the Court.

I, Charles J. Schneider P-27598, Attorney for Debtor (or Debtor if not represented by an attorney), certify that this Plan
contains no "Nonstandard Provisions" other than those set out in Section IV above.

  /s/ Charles J. Schneider                                                             /s/ Linda R. Sosnowski
  Charles J. Schneider P-27598                                                         Linda R. Sosnowski
  Attorney for Debtor                                                                  Debtor
  39319 Plymouth Rd.
  Suite 1
  Livonia, MI 48150-1059
  Street Address
  Livonia, MI 48150-1059                                                               Joint Debtor
  City, State and Zip Code
  notices@cschneiderlaw.com
  E-Mail Address                                                                       January 30, 2019
  (734) 591-4890                                                                       Date
  Phone Number




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                                                                           ATTACHMENT 1
                     LIQUIDATION ANALYSIS AND STATEMENT OF VALUE OF ENCUMBERED PROPERTY:

                                                                                               DEBTOR'S
                                                      FAIR MARKET                              SHARE OF       EXEMPT          NON-EXEMPT
         TYPE OF PROPERTY                                VALUE                  LIENS           EQUITY        AMOUNT            AMOUNT

      PERSONAL RESIDENCE


  34024 Aztec Drive Westland, MI
                                                               160,000.00        149,198.87       10,801.13      10,801.13                      0.00
  48185 Wayne County

      PERSONAL RESIDENCE
                                                               160,000.00        149,198.87       10,801.13      10,801.13                      0.00
             (total)

  REAL ESTATE OTHER THAN
                                                                        0.00            0.00           0.00           0.00                      0.00
    PERSONAL RESIDENCE


    HHG/PERSONAL EFFECTS

  Used by Debtor personally; no
  single item >$650
                                                                     5,000.00           0.00       5,000.00       5,000.00                      0.00
  See attached supplemental list;
  Debtor's residence

    HHG/PERSONAL EFFECTS
                                                                     6,000.00           0.00       6,000.00       6,000.00                      0.00
            (total)


                  JEWELRY

  Jewelry used by the Debtor
  personally
                                                                     1,000.00           0.00       1,000.00       1,000.00                      0.00
  See attached supplemental list;
  Debtor's residence

             JEWELRY (total)                                         1,000.00           0.00       1,000.00       1,000.00                      0.00



      CASH/BANK ACCOUNTS                                              814.00            0.00        814.00         814.00                       0.00



                 VEHICLES

  2016 Chevrolet Impala 27000 miles
  Location: 34024 Aztec Drive,                                          0.00            0.00           0.00           0.00                      0.00
  Westland MI 48185

            VEHICLES (total)                                            0.00            0.00           0.00           0.00                      0.00



             OTHER (itemize)




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  Pension: Ford Pension                                                   0.00                          0.00                        0.00                    0.00                      0.00



  Social security: Social security                                        0.00                          0.00                        0.00                    0.00                      0.00

  Employer's Goup Medical disability
  policy                                                                  0.00                          0.00                        0.00                    0.00                      0.00
  Beneficiary: Debtor

  Car Ins.
                                                                          0.00                          0.00                        0.00                    0.00                      0.00
  Beneficiary: Debtor


               OTHER (total)                                              0.00                          0.00                        0.00                    0.00                      0.00




                          Amount available upon liquidation ............................................................................              $                              0.00

                          Less administrative expenses and costs .....................................................................                $                              0.00

                          Less priority claims ....................................................................................................   $                              0.00

                          Amount Available in Chapter 7 .................................................................................             $                              0.00




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                                                                          ATTACHMENT 2

                                                           CHAPTER 13 MODEL WORKSHEET
                                                       LOCAL BANKRUPTCY RULE 3015-1(B)(2) E.D.M
  1.          Proposed length of Plan:                                   60        months

  2.         Initial Plan Payment:
            $1,386.37 per month x 60 months = $83,182.20 (subtotal)

              Additional
  3.          Payments:                 $                        per=$(subtotal)

  4.          Lump sums payments                                                                                                                 $0.00

  5.          Total to be paid into Plan (total of lines 2 through 4)                                                                     $83,182.20

  6.          Estimated disbursements other than to Class 9 General Unsecured Creditors

              a. Estimated Trustee Fees                                                       $7,070.40

              b. Estimated Attorney Fees and costs through
                 confirmation of plan                                                         $4,000.00 (Estimated for feasibility purposes only)

              c. Estimated Attorney Fees and costs post-confirmation
                 through duration of Plan                                                     Unknown

              d. Estimated fees of other Professionals                                            $0.00

              e. Total mortgage and other continuing secured debt
                 payments                                                                    $68,220.00

              f. Total non-continuing secured debt payments
                 (including interest)                                                             $0.00

              g. Total priority claims                                                            $0.00

              h. Total arrearage claims                                                       $2,176.87
              Total disbursements other than to Class 9 General Unsecured Creditors
  7.          (Total of lines 6.a through 6.h)                                                                              $              81,467.27

              Funds estimated to be available for Class 9 General Unsecured Creditors
  8.          (Line 5 minus Line 7)                                                                                    $                     1,714.93

              Estimated dividend to Class 9 General Unsecured Creditors in Chapter 7 proceeding
  9.           (see Liquidation Analysis on page 6)                                                                    $                           0.00


COMMENTS:




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                                                                                   10
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